72 F.3d 128NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    James Gregory WALLACE, Petitioner--Appellant,v.William L. SMITH, Warden, Maryland House of Correction;Attorney General of the State of Maryland,Respondents--Appellees.
    No. 95-7168.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 15, 1995.
    
      James Gregory Wallace, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Ann Norman Bosse, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Wallace v. Smith, No. CA-95-57-HAR (D.Md. July 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    